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 3   2500 Tulare Street
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 4   Telephone: (559) 497-4000

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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )       1:09-CR-339 OWW
                                        )
12                                      )
                    Plaintiff,          )
13                                      )
          v.                            )       STIPULATION RE:
14                                      )       STAY AND ORDER
                                        )
15                                      )
     JESUS GOMEZ-GONZALEZ,              )
16                                      )
                                        )
17                                      )
                    Defendant.          )
18   ___________________________________)

19        Defendant JESUS GOMEZ-GONZALEZ, by and through his attorney,

20   MICHAEL BERDINELLA, and the United States of America, by and

21   through its attorneys, BENJAMIN B. WAGNER, United States Attorney,

22   and KAREN A. ESCOBAR, Assistant United States Attorney, hereby

23   enter into the following stipulation:

24        1.   The parties to the above-captioned matter agree to stay

25   the current filing date for the government’s response to the

26   defendant’s pending motions to further plea negotiations in this

27   matter.   To that end, the parties agree to stay the government’s

28   response until August 23, 2010, the next court date, for

                                          1
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 1   resolution or re-setting the filing date.

 2   DATED: August 10, 2010                       Respectfully submitted,

 3                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 4
                                                  By: /s/ Karen A. Escobar
 5                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
 6

 7                                                  /s/ Michael Berdinella
                                                    MICHAEL BERDINELLA
 8                                                  Attorney for Defendant
                                                    Jesus Gomez-Gonzalez
 9
                                    O R D E R
10
          Having read and considered the foregoing stipulation,
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          IT IS THE ORDER of the Court that the current August 10
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     filing date for the government’s response to the defendant’s
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     pending motions is hereby stayed pending resolution or resetting
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     at the status conference on August 23, 2010, at 1:30 p.m.
15
                                        IT IS SO ORDERED.
16
     Dated: August 12, 2010                 /s/ Oliver W. Wanger
17   emm0d6                            UNITED STATES DISTRICT JUDGE

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